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          IN THE UNITED STATES COURT OF FEDERAL CLAIMS


MARSHALL T. AND TAMI                        )   CIVIL ACTION No. 23-1057 T
SAVAGE,                                     )
                                            )   Judge Ryan T. Holte
Plaintiffs,                                 )
                                            )
v.                                          )
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
Defendant.                                  )

        MOTION FOR LEAVE TO REFILE REDACTED COMPLAINT

     1. Marshall T. Savage and his spouse, Tami Savage, (“Plaintiffs”), by and

        through the undersigned counsel, seek leave to refile a redacted version of

        their Complaint, Exhibits, and Civil Cover Sheet as attached hereto to be made

        publicly accessible.

     2. Plaintiffs have redacted all but the last four digits of the taxpayers’ social

        security numbers and taxpayer identification numbers contained in the

        Complaint as well as the entirety of Exhibits.

     3. The confidential references contained in ECF No, 3-12 at 2, are redacted

        pursuant to RCFC 5.2 and RCFC 9(m).

     4. The Defendant does not oppose this Motion and the refiling of the redacted

        Complaint.
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      WHEREFORE, for the reasons stated herein, Plaintiffs respectfully request

leave to refile the redacted Complaint, Exhibits, and Civil Cover Sheet as specified.



                                        Respectfully submitted,



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 Dated: July 27, 2023.                  Attorney for Plaintiffs
